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             IN THE CIRCUIT COURT OF MONROE                  COUNTY, MISSISSIPPI



ELMER MENDEZ; ELENA MEJIA-                                                          PLAINTIFFS
MENDEZ, ON BEHALF OF ALL
WRONGFUL DEATH BENEFICIARIES
OF CARLOS MEJIA-MENDEZ,
DECEASED; AND EVER ALEXANDER
AMAYA-MENDEZ, ON BEHALF OF ALL
WRONGFUL DEATH BENEFICIARIES
OF MARVIN NOE AMAYA-MENDEZ,
DECEASED

Vv.                                                                 CAUSE NO. 2022-180 JWM

SUMMIT HOUSING TRANSPORT, LLC;
GREGORY BURNS; WINSTON
HOMEBUILDERS, INC.; HAMILTON                                                      DEFENDANTS
HOME BUILDERS, LLC; HAMBY
TRUCKING, INC., D/B/A HAMBY
ESCORT; AND JOHN DOES 1-20

                                   AMENDED       COMPLAINT

                                      Jury Trial Requested

        Plaintiffs, Elmer Mendez; Elena Mejia-Mendez, on behalf of all wrongful death

beneficiaries of Carlos Mejia-Mendez, deceased; and Ever Alexander Amaya-Mendez, on behalf

of all wrongful death beneficiaries of Marvin Noe Amaya-Mendez, deceased, by and through

their counsel of record, file this Complaint against the Defendants, Summit Housing Transport,

LLC; Gregory Burns; and Winston Homebuilders, Inc., and in support thereof would show unto

this Honorable Court the following facts and matters, to-wit:

                                            PARTIES

        1.      Plaintiff Elmer Mendez is a citizen of Honduras who currently resides in the State

of Tennessee.




                                           Exhibit 1
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       2.      Plaintiff Elena Mejia-Mendez is a citizen of Honduras who resides in the State of

Tennessee. Plaintiff Elena Mejia-Mendez, sibling of Carlos Mejia-Mendez, Deceased, brings this

action on behalf of all wrongful death beneficiaries of Carlos Mejia-Mendez, Deceased.

       3.      Plaintiff Ever Alexander Amaya-Mendez is a citizen of Honduras who resides in

the State of Tennessee. Plaintiff Ever Alexander Amaya-Mendez, sibling of Marvin Noe Amaya-

Mendez, Deceased, brings this action on behalf of all wrongful death beneficiaries of Marvin

Noe Amaya-Mendez, Deceased.

       4.      Defendant Summit Housing Transport, LLC (“Summit Housing Transport”) is a

limited liability company organized under the laws of the State of Alabama. Defendant Summit

Housing Transport may be served with process by serving its registered agent for service of

process, Incorp Services, Inc., at 4142 Carmichael Road Montgomery, AL 36106, or by any

means permitted by the Mississippi Rules of Civil Procedure.

       5.      Defendant Gregory Burns is an adult resident citizen of the State of Alabama.

Defendant Burns may be served with process by any means permitted by the Mississippi Rules of

Civil Procedure.

       6.      Defendant Winston Homebuilders, Inc. (“Winston Homebuilders”) is a

corporation organized under the laws of and with its principal place of business in the State of

Alabama. Defendant Winston Homebuilders may be served with process by serving its registered

agent for service of process, Carol Winston, at 1809 Calgary Drive Bessemer, AL 35023, or by

any means permitted by the Mississippi Rules of Civil Procedure.

       7.      Defendant Hamilton Home Builders, LLC (“Hamilton Home Builders”) is a

limited liability company organized under the laws of the State of Alabama. Defendant Hamilton

Home Builders may be served with process by serving its registered agent for service of process,




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Brad Mikels, at 330 Buccaneer Street, Hamilton, AL 35570, or by any means permitted by the

Mississippi Rules of Civil Procedure.

       8.      Defendant Hamby Trucking, Inc. (“Hamby”), which upon information and belief

is doing business as Hamby Escort, is a corporation organized under the laws of and with its

principal place of business in the State of Alabama. Defendant Hamby may be served with

process by serving its registered agent for service of process, Wayne Hamby, at 5367 HWY 243,

Phil Campbel, AL 35581, or by any means permitted by the Mississippi Rules of Civil

Procedure.

       9.      The Defendants, John Does 1-20 are individuals and entities presently unknown

to Plaintiffs at this time and are named in this lawsuit pursuant to Rule 9(h) of the Mississippi

Rules of Civil Procedure. All allegations and claims asserted herein against Defendants are

incorporated by reference against John Does 1-20. John Does 1-20 will be identified by name

and joined in this action, by amendment of the Complaint, pursuant to the Mississippi Rules of

Civil Procedure, when the information to do so becomes available.


                                 JURISDICTION AND VENUE

        10.    This Court has subject matter jurisdiction over this cause pursuant to Miss. Code

Ann. § 9-7-81 and related authority. The Court has personal jurisdiction over all parties.

        11.    Venue is proper in Monroe County, Mississippi, pursuant to Miss. Code Ann. §

11-11-3, as the substantial acts and/or omissions and events that caused Plaintiffs’ injuries

occurred in Monroe County, Mississippi.

                                               FACTS
        12.     On July 1, 2020, Elmer Mendez, Carlos Mejia-Mendez, and Marvin Noe Amaya-

Mendez were passengers in a 2004 Nissan Titan truck driven by Jose Mendez.



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          13.   Atapproximately 8:45 a.m. on that date, the Nissan Titan was traveling

southbound on Highway 45 Alternate near Highway 25 in Monroe County, Mississippi.

          14.   At that same time, a 1995 Peterbilt truck hauling one-half of a double wide

Helicon 2.0 Model 327642E mobile home designed, manufactured, and marketed by Defendant

Winston Homebuilders was pulled over near the shoulder of Highway 45 Alternate and not in

motion.

          15.   On July 1, 2020, the Peterbilt truck hauling the mobile home was being operated

by Defendant Burns.

          16.   On that date, Defendant Burns was employed by Defendant Summit Housing

Transport, a trucking company engaged to transport the mobile home for Defendant Winston

Homebuilders.

          17.   At all times relevant hereto, Defendant Burns was acting in the course and scope

of his employment for Defendant Summit Housing Transport, which is vicariously liable for any

negligent acts of Burns under the doctrine of respondeat superior.

          18.   On July 1, 2020, at approximately 8:45 a.m., the Peterbilt truck hauling the

mobile home was stopped due to the failure of the tow hitch used to connect the mobile home to

the truck for transport.

          19.   The tow hitch failed because it was undersized for the load, the axles of the load

were located in a manner that increased load on the hitch, and for any other reasons that will be

revealed in discovery of this matter.

          20.   But for the tow hitch failure described above, the Peterbilt truck hauling the

mobile home would not have been stopped in or near southbound Highway 45 Alternate.




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        21.    On July 1, 2020, at approximately 8:45 a.m., the Nissan Titan truck driven by

Jose Mendez collided with the rear of the mobile home being hauled by the Peterbilt truck.

        22.    As aresult of the collision, Elmer Mendez suffered serious injuries.

        23.    As aresult of the collision, Carlos Mejia-Mendez and Marvin Noe Amaya-

Mendez died.

        24.    As a result of the acts, omissions, and collision described above and herein,

Plaintiffs suffered injuries and damages as described herein and as will be proven at the trial of

this matter.

                                      CAUSES OF ACTION

     COUNT 1: NEGLIGENCE AND NEGLIGENCE PER SE OF ALL DEFENDANTS

        25.    Plaintiffs incorporate by reference, as is fully reproduced herein, the allegations

contained in the preceding paragraphs of the Complaint.

         26.   At all times relevant hereto, Defendants had a duty to exercise reasonable care in

the loading and transportation of the mobile home and to observe all applicable statutes, rules,

regulations, standards, and laws governing such activity.

         27.   Defendants breached the duties that they owed to Plaintiffs.

         28.   Defendants were guilty of negligent acts and/or omissions which were the direct

and/or proximate cause of the injuries and damages to the Plaintiffs in one or more of the

following ways:

                  a.   selecting and using a hitch that was undersized for safe transportation of the

                       mobile home;

                  b.   locating axles in a manner that increased hitch load;




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               Cc.      violating applicable statutes, rules, regulations, standards, and laws

                        governing the loading and transportation of the mobile home, including

                        (but not limited to) United States Department of Housing and Urban

                        Development (“HUD”) regulations related to manufactured homes;

                        Federal Motor Carrier Safety Regulations; Federal Department of

                        Transportation regulations; and the Mississippi Motor Vehicles and

                        Traffic Regulations;

                d.      Failure to do other reasonable acts necessary to prevent the harm suffered by

                        Plaintiffs; and,

                8       Other acts or omissions that will more specifically be set forth during

                        discovery and proven at trial.

        29.     Defendants breached the above duties which caused Plaintiffs harm, and but for the

actions of the Defendants, Plaintiffs would not have been injured.

        30.     To the extent that Defendants violated applicable statutes, rules, regulations,

standards, and laws governing the loading and transportation of the mobile home, Defendants are

liable under the doctrine of negligence per se, as Plaintiffs and their decedents were members of the

class sought to be protected under the statutes, rules, regulations, standards, and laws; their injuries

were of a type sought to be avoided; and violations of the statutes, rules, regulations, standards, and

laws proximately caused their injuries.

        31.     The negligent conduct by Defendants proximately caused or contributed to

Plaintiffs’ injuries and damages as more fully described herein.




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    COUNT 2: PRODUCT LIABILITY AGAINST WINSTON HOMEBUILDERS AND
                      HAMILTON HOME BUILDERS

       32.         Plaintiffs incorporate by reference, as is fully reproduced herein, the allegations

contained in the preceding paragraphs of the Complaint.

        33.        Defendant Winston Homebuilders and/or Defendant Hamilton Home Builders

designed, manufactured, and marketed the double wide Helicon 2.0 Model 327642E that was

being transported as described above.

        34.        Due to the failure of the tow hitch and axle placement described herein and for

any other reasons discovered during discovery, the mobile home was defective because (a) it

deviated in a material way from the manufacturer’s or designer’s specifications or from

otherwise identical units manufactured to the same manufacturing specifications and/or (b) it

failed to contain adequate warnings or instructions and/or (c) it was designed in a defective

manner and/or (d) it breached an express warranty or failed to conform to other express factual

representations.

        35.        The defective condition(s) described above rendered the mobile home

unreasonably dangerous to the user or consumer.

        36.        Defendant Winston Homebuilders and/or Hamilton Home Builders knew, or in

light of reasonably available knowledge should have known, about the danger that caused the

damages for which recovery is sought herein.

        37.        The ordinary user or consumer would not realize the dangerous condition of the

mobile home described herein.

        38.        With respect to design defects alleged herein, the mobile home failed to function

as expected and there existed a feasible design alternative that would have to a reasonable

probability prevented the harm. Said feasible design alternative would have, to a reasonable



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probability, prevented the harm without impairing the utility, usefulness, practicality or

desirability of the mobile home to users or consumers.

       39.     The defective and unreasonably dangerous condition(s) of the mobile home

proximately caused the damages described herein.

                 COUNT 3: NEGLIGENCE AND NEGLIGENCE PER SE OF
                 BURNS, SUMMIT HOUSING TRANSPORT, AND HAMBY

       40.     Plaintiffs incorporate by reference, as is fully reproduced herein, the allegations

contained in the preceding paragraphs of the Complaint.

       41.     Additionally or alternatively, at all times relevant hereto, Defendant Burns had a

duty to exercise reasonable care in the operation of his motor vehicle and to observe the rules of

the road. Defendant Summit Housing Transport is liable for all act or omissions of its employee,

Burns, under the doctrine of respondeat superior. Additionally, Defendant Hamby had a duty to

exercise reasonable care while escorting the mobile home.

        42.    Defendants Burns, Summit Housing Transport, and Hamby breached the duties

that they owed to the general public and to Plaintiffs and their decedents.

        43.    At said time, date, and place of the above-referenced collision, Defendants Burns,

Summit Housing Transport, and Hamby were guilty of negligent acts and/or omissions which

were a direct and/or proximate cause of the injuries and damages to the Plaintiffs in one or more

of the following ways:

                a.       Failure to remove their vehicle from the roadway;

                b.       Parking, stopping, or leaving their vehicle in the roadway;

                C.       Failure to take appropriate action to avoid the collision;

                d.       Failure to adequately warn other motorists of the presence of the vehicle in

                         the roadway;



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                   e.         Negligence per se for violation of traffic laws of the State of Mississippi;

                  :4          Failure to follow applicable rules and law regarding proper notice, signage

                              and flagging of the escort vehicle and vehicle transporting the mobile home;

                   g.         Failure to do other reasonable acts necessary to prevent the harm suffered by

                              the Plaintiffs and their decedents; and,

                   h.         Other acts or omissions that will more         specifically be set forth during

                              discovery and proven at trial.

           44.     Defendants Burns,        Summit Housing Transport, and Hamby           breached the above

duties which caused the Plaintiffs harm, and but for the actions of Defendants Burns, Summit

Housing Transport, and/or Hamby, the Plaintiffs would not have been damaged.

           45.     To the extent that Defendants          Burns,   Summit   Housing   Transport,   and Hamby

violated     applicable     laws   and rules of the road, Defendants        are liable under the doctrine     of

negligence per se, as Plaintiffs and their decedents were members of the class sought to be protected

under the rules of the road; their injuries were of a type sought to be avoided; and violations of rules

of the road proximately caused their injuries.

           46.     The      negligent   conduct   by Defendants    Burns,   Summit    Housing   Transport,   and

Hamby proximately caused and/or contributed to the Plaintiffs’ injuries and damages as more fully

described herein.

       COUNT 4: LIABILITY OF ALL DEFENDANTS VIA RESPONDEAT SUPERIOR

           47.      Plaintiffs reallege and incorporate by reference each and every averment set forth in

the preceding paragraphs.

           48.          Each Defendant was, during all times herein mentioned, the agent and/or employee

of Defendants, acting within the course and scope of employment at the time of the transport and




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collision.

             49.           At the time and place of the above referenced transport and collision, each Defendant

was    the         agent    and   employee    of all other   Defendants,   and   negligently   manufactured   and/or

transported the mobile home at issue.

                                             COUNT 5: PUNITIVE DAMAGES

             50.            Plaintiffs incorporate by reference, as is fully reproduced herein, the allegations

contained in the preceding paragraphs of the Complaint.

             51.           The Defendants acted in complete disregard of the duties owed to the Plaintiffs

and their decedents by acting in a grossly negligent manner and with wanton and reckless

disregard for the safety of Plaintiffs and their decedents, Carlos Mejia-Mendez and Marvin Noe

Amaya-Mendez, such that their conduct gives rise to an independent tort justifying the

imposition of punitive damages against all Defendants.

                                                          DAMAGES

             52.           Plaintiffs incorporate by reference, as is fully reproduced herein, the allegations

contained in the preceding paragraphs of the Complaint.

             53.           As a result of the foregoing negligent acts and/or omissions of Defendant, the

Plaintiffs are entitled to the following damages:

                           a.      wrongful death damages as permitted by law as to Carlos Mejia-Mendez,

                                   deceased and Marvin Noe Amaya-Mendez, deceased;

                           b.      past, present, and future pain and suffering of all Plaintiffs and wrongful

                                   death beneficiaries;

                           c.      past, present, and future medical expenses of all Plaintiffs and wrongful

                                   death beneficiaries;




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                       lost wages of Plaintiff Elmer Mendez;

                       mental anguish and emotional distress of all Plaintiffs and wrongful death

                       beneficiaries;

                       permanent injuries of all Plaintiffs and wrongful death beneficiaries;

                       loss of value, enjoyment, and quality of life of all Plaintiffs and wrongful

                       death beneficiaries;

                       all other economic     and non-economic    damages    allowed by Mississippi

                       law;

                       any    and all damages    of every   kind allowable   by   law   as a jury may

                       determine to be just, taking into consideration all damages of every kind to

                       Plaintiffs; and

                j.     punitive damages.

          54.   There exists a causal connection between the negligent acts and/or omissions of

Defendants alleged herein and the damages sustained by Plaintiffs, such that said negligent acts

and/or omissions proximately caused or contributed to the Plaintiffs’ damages.

          WHEREFORE, PREMISES CONSIDERED, Plaintiffs demand judgment from the

Defendants and requests that this Court grant relief as follows following a jury trial of this

matter:


                       Economic and non-economic damages in an amount provided by law and

                       to be supported by evidence at trial;

                       Punitive damages;

                       Pre-judgment and post-judgment interest as allowed by law;




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               d.      Reasonable attorneys’ fees, litigation expenses, expert witness fees, and

                       costs of this litigation, together with all costs of court; and,

               e.      Any other relief to which Plaintiffs may justly and properly be entitled, all

                       within an amount within the jurisdiction of this Court.


This the 30th day of June, 2022.




                                                        Respectfully submitted,

                                                        ELMER MENDEZ; ELENA MEJIA-
                                                        MENDEZ, ON BEHALF OF ALL
                                                        WRONGFUL DEATH BENEFICIARIES
                                                        OF CARLOS MEJIA-MENDEZ,
                                                        DECEASED; AND EVER ALEXANDER
                                                        AMAYA-MENDEZ, ON BEHALF OF
                                                        ALL WRONGFUL DEATH
                                                        BENEFICIARIES OF MARVIN NOE
                                                        AMAYA-MENDEZ, DECEASED,
                                                        PLAINTIFFS



                                               BY:
                                                        MADISON      KEY,

OF COUNSEL:

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